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KIMMIE S. BAGLEY

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION


 KIMMIE S. BAGLEY,
                                  CV 21-112-BLG-SPW-TJC
           Plaintiff,
                                  PLAINTIFF’S OPPOSITION TO
     vs.                          DEFENDANT’S MOTION FOR
                                  SUMMARY JUDGMENT
 UNITED STATES,

           Defendant.
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      Plaintiff, Kimmie S. Bagley (the “Plaintiff”), through her undersigned

counsel and pursuant to Rule 56 of the Federal Rules of Civil Procedure, hereby

files her Opposition to the Motion for Summary Judgment by Defendant, United

States (the “Defendant”), and states as follows:

                                 INTRODUCTION

      This case concerns a slip-and-fall that Plaintiff suffered when she exited her

vehicle in the parking lot of a post office operated by the Defendant. Plaintiff

arrived at the post office parking lot before regular business hours and noticed

snow and ice on the ground. Exercising caution, she stepped onto a clear spot that

appeared safe. Unfortunately, the spot was covered by “black ice” that was not

obvious and caused Plaintiff to fall and sustain injuries, including to her head

(which struck the vehicle as she fell). In her Amended Complaint, Plaintiff asserts

a single claim of negligence based on Defendant’s failure to maintain the parking

lot in a reasonably safe condition.

      Defendant now moves for summary judgment based on three arguments

First, Defendant argues that any negligence was committed by an independent

contractor who was retained to clear snow and ice from the parking lot, meaning

that the Defendant cannot be held liable because the postal employees are not

responsible for what happened. Second, Defendant argues that the policy decision

to allow visitors at the post office outside of regular business hours is a



                                           1
discretionary function that further insulates Defendant from liability. Third,

Defendant argues that the snow and ice were obvious conditions that prevent

Plaintiff from claiming negligence altogether.

      Defendant’s arguments ignore several material facts and controlling

principles of law, many of which appear in Defendant’s own cited authorities. The

facts and the law demonstrate that Plaintiff’s claim of negligence is not only valid,

but quite strong, and it deserves to reach a jury.

      First, the contractor was not required to clear the parking lot at the specific

time in question, as shown by the plain language of the contract and the undisputed

fact that Plaintiff fell before the contractor was obligated to start working. The

contractor also was on-call 24 hours a day, yet nobody at the post office placed

such a service call. This means there was no applicable duty or breach of duty by

the contractor, but rather by the employees who were at the post office and had

been there for hours before Plaintiff arrived. It is undisputed that the subject lease

requires the post office to remove snow and ice from the parking lot; that the

employees had tools to minimize the danger of slips and falls; that the employees

used such tools when they deemed necessary; that at least some of the employees

parked in the lot that morning; and that an employee rushed out to assist Plaintiff

when she fell. Under these circumstances, the duty to maintain the premises in a

reasonably safe condition fell upon the postal employees, who failed to do so.



                                           2
      Second, even if the contractor failed to clear the parking lot as required by

the contract, this does not relieve the Defendant of its own independent duty to

maintain the premises in a reasonably safe condition. Both Montana and federal

case law are emphatic on that point, and the record facts strongly suggest that the

Defendant had plenty of advance notice and opportunity to prevent Plaintiff’s

injury.

      Third, even if both of the foregoing points are mistaken, the Defendant

retained and exercised extensive control over the contractor’s activities, far beyond

the enforcement of the contract’s basic requirements. Such control means that the

contractor’s negligence, if any, is still imputed to the Defendant.

      Fourth, the post office’s decision to allow visitors outside of regular business

hours does not transform routine maintenance such as removing snow and ice into

a “discretionary function” that implicates public-policy concerns or exempts the

Defendant from liability. Defendant’s own cited authorities discuss a 2021 decision

by this Court rejecting this argument. Moreover, case law from the Ninth Circuit

Court of Appeals holds that clearing snow and ice from federal premises

categorically does not qualify as a “discretionary function.” Once again, this case

law is discussed in Defendant’s own cited authorities, but Defendant ignores it and

makes a lengthy argument that is invalid as a matter of law.




                                          3
      Fifth, Plaintiff was not injured by an open or obvious condition, but rather

by black ice that was not obvious. Even if the black ice were treated as open and

obvious, this merely creates a jury question as to whether the Defendant still

should have anticipated the danger. Once again, this is stated in Defendant’s own

cited authority, and the record facts show that Defendant indeed should have

anticipated the danger and acted to prevent it.

      When applying the law to the record facts, it becomes clear that Plaintiff has

a valid and strong claim for negligence. Defendant’s motion must be denied.

                             BACKGROUND FACTS

      Plaintiff admits certain of the paragraphs in Defendant’s Statement of

Undisputed Material Facts, particularly the ones describing the sequence of events

and the relevant documents. However, in certain critical areas the Defendant has

misstated or omitted material facts, as established by Plaintiff’s own Statement of

Disputed Material Facts (“SDMF”) and Statement of Additional Material Facts

(“SAMF”).

      Plaintiff worked for a plumbing company in early 2019 and would typically

pick up the company’s mail on her 30-mile one-way drive into work each day.

SDMF ¶ 1. She arrived at the Centennial Post Office in Billings, Montana

sometime before 7:30 a.m. on January 4, 2019 to do just that. SDMF ¶ 2. She

parked in the same spot she usually parked in, closest to the door. SDMF ¶ 3.



                                          4
When she opened the door to her truck, she saw snow and ice on the ground right

next to the vehicle. SDMF ¶ 4. The last snowfall event on the premises was

approximately on December 30-31, 2018, when approximately 4.9 inches of snow

fell. SAMF ¶ 1; Ex. 2 - Justin Mordja, Premises Liability Report (Jan. 9, 2023); Ex.

3. - James Bria, Meteorologist Report (November 14, 2022). Between December

31, 2018 and January 4, 2019, it is likely that JLL cleared the snow and ice from

the premises and applied deicer. SAMF ¶ 2. Regardless, it is quite common for

wind to blow snow back onto the sidewalk and the parking lot where it can melt

and freeze, which is likely what happened in this case. SAMF ¶ 2. In order to avoid

the snow and ice that she saw, Plaintiff stepped onto what appeared to be a clear

patch of asphalt that was actually black ice and was not obvious. SDMF ¶¶ 5, 6.

Her foot then slipped out from underneath her. SDMF ¶ 6. She doesn’t remember

exactly how she landed, but she does claim she scraped her back and hit her head

and neck on the truck’s running board as she fell. SDMF ¶ 7.

      After Plaintiff fell, one of Defendant’s employees came to check on her.

SDMF ¶ 5. Indeed, several employees had arrived at the post office long before

Plaintiff did. SDMF ¶ 5. At least some of those employees parked in the parking

lot. SDMF ¶ 5. The employees had tools and warning signs that they could (and

sometimes did) use to diminish the danger of snow and ice on the premises when

necessary, including on the parking lot. SDMF ¶ 5. The subject lease also states



                                         5
that the Defendant is responsible for removing snow and ice from the parking area.

Depo. SDMF ¶ 5.

      At the time of the incident, the Postal Service contracted with Jones Lang

Lasalle, Inc. (“JLL”) to remove snow and ice at post offices in the Dakotas

District, which includes Montana. SDMF ¶ 8. The stated purpose of the contract

was “to combat adverse weather conditions in a comprehensive, proactive, and

orderly manner that results in a high level of quality and safety for the USPS.”

SDMF ¶ 9. To that end, the contract required that “[i]f the accumulation of snow

exceeds two (2) inches, the Contactor shall commence the snow removal operation

without further notification, in accordance with the” Statement of Work attached to

the contract. SDMF ¶ 10. The contract also states that, regardless of the amount of

accumulation, “[i]f ice is present, the Contactor shall apply a deicer that will

effectively melt the ice.” SDMF ¶ 11. However, the contract does not require

JLL to clear snow and ice until at least one hour before business hours start at

8:30am (i.e., at 7:30am), which was after Plaintiff slipped and fell. SDMF ¶¶ 2,

13, 17.

      Additionally, under the contract JLL was “accessible on a 24 hour, 365 day

basis[.]” SAMF ¶ 3. JLL operated a 24-hour customer call center and was required

to keep a log of all such calls and respond to them within two (2) hours. SAMF ¶ 3.

Darci Spitzer, who managed the post office at the time in question, was not aware



                                           6
of 24-hour call center and never had used it. SAMF ¶ 4. There is no log entry

showing a service call from the post office to JLL on or near January 4, 2019.

SAMF ¶ 4. This is despite the fact that employees at the post office made service

calls to contractors to clear snow from the premises on other occasions. SAMF ¶ 4.

      To reiterate, several employees had arrived at the post office on January 4,

2019, hours before the Plaintiff did and could observe the conditions of the parking

lot. SDMF ¶ 5; Depo. Spitzer at 29:7-11; 30:6-8. Also to reiterate, the employees at

the post office had tools and warning signs that they could (and sometimes did) use

to diminish the danger of snow and ice on the premises when necessary (including

on the parking lot). SDMF ¶ 5. The normal and customary expectation under these

circumstances would be for the customer either to remove a small amount of snow

from the area or to contact the contractor, but the post office did neither. SAMF ¶

5. This is especially true here because the manager of the post office at the relevant

time admits that snow is a hazard; that it snows in Billings; that she never saw the

contractors put up warnings; that the post office had warning signs of its own; and

that on January 4, 2019, she did not recall any warning signs in the parking lot.

SAMF ¶ 6.

      The Defendant also retained extensive control over JLL’s work, far beyond

the general standards summarized in the contract, as follows:




                                          7
         • The Defendant retains broad power to monitor the contractor’s

             activities and supplies, including the power to “require correction of

             defects and nonconformance at no cost to the [Defendant].”

         • The Defendant may demand “adequate assurances of future

             performance” and terminate the contract if such assurances are not

             given.

         • The Defendant specifies in detail how the contractor must prepare and

             present the invoices for its work, lest payment for those services be

             delayed.

         • The Defendant reserves the right to call upon the contractor 24 hours a

             day and 365 days a year (including holidays).

         • The Defendant requires the contractor to establish a 24-hour customer

             call center and to keep a detailed log of all calls.

         • The Defendant requires the contractor to remain in communication

             with the Defendant before, during, and after each storm and to submit

             detailed Corrective Action Plans upon request).

SDMF ¶ 16.

      The post office allowed 24-hour customer access to the lobby and post office

box areas of the facility, even though the office was officially open for business

only between 8:30 a.m. and 5:30 p.m. SDMF ¶ 17. The Postal Operations Manual


                                           8
(“POM”), which “sets forth the policies, regulations, and procedures of the Postal

Service governing retail, philatelic, collection, mail processing, transportation,

delivery, and vehicle operations,” addresses 24-hour access in § 126.43. SDMF ¶

18. However, POM § 126.43 concerns the lobby rather than the parking lot. SDMF

¶ 18. Once again, maintenance of the parking lot is governed by the lease, which

states that the Defendant is responsible for removing snow and ice. SDMF ¶ 18.

Maintenance of the parking lot is also governed by other of the Defendant’s

internal policies and procedures, which require Defendant to uphold safety and to

prevent accidents where possible, including but not limited to the removal of snow

and ice. SDMF ¶ 18.

                                   ARGUMENT

      The record facts and the applicable law show that Plaintiff has asserted a

valid claim for negligence that should be decided by a jury. Defendant had the duty

and the ability to maintain the parking lot in a reasonably safe condition for

Plaintiff, but Defendant failed to do so. This duty was not delegated to JLL during

the specific time of day when Plaintiff sustained her injury. Even if the duty had

been delegated for that time, Defendant still had an obligation to maintain the

premises in a reasonably safe condition, and Defendant exercised such extensive

control over JLL that any negligence by JLL would be imputed to the Defendant

anyway. Routine maintenance such as clearing snow and ice from a parking lot



                                           9
does not implicate the larger policy concerns of the Postal Service or trigger the

“discretionary” exemption from liability. Finally, the condition that caused

Plaintiff’s injury was not open or obvious, and even if it were this would create a

jury question regarding whether Defendant should still have anticipated harm.

A.    Summary Judgment Standard

      Summary judgment is proper only “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). The moving party bears the initial burden of

“identifying for the court the portions of the materials on file that it believes

demonstrate the absence of any genuine issue of material fact.” T.W. Elec. Serv.,

Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). In

determining whether that burden has been met, the court is required to resolve all

ambiguities and credit all factual inferences that could be drawn in favor of the

non-moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986);

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). Once

the moving party has met its burden of demonstrating that there is no genuine issue

of material fact that should be decided at trial, the burden shifts to the non-moving

party to “come forward with specific facts showing that there is a genuine issue for

trial.” Matsushita, 475 U.S. at 587. The non-moving party may not rest upon mere

allegations or denials in the pleadings, but must set forth specific facts, through



                                           10
affidavits or other forms of evidence provided for by the rules. Id. at 586 n.11. The

question then becomes “[w]hether the evidence presents sufficient disagreement to

require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law.” Anderson, 477 U.S. at 251, 252.

      For the reasons set forth in more detail below, Plaintiff meets and exceeds

her burden to resist Defendant’s motion for summary judgment.

B.    Plaintiff’s Claim Is Not Barred By The Independent-Contractor
      Exception To The FTCA

      Defendant argues that the Federal Tort Claims Act (the “FTCA”) bars relief

because Plaintiff’s claim supposedly stems from the negligence of an independent

contractor (JLL) rather than from Defendant’s employees, triggering the exception

from liability at 28 U.S.C. § 2671. Dkt. 27 at 11-18. More specifically, Defendant

argues that it delegated the entire duty of maintaining the parking lot 24 hours a

day and 7 days a week to JLL, who retained control over how it performed this

duty, thereby relieving Defendant’s employees of any duty of their own that might

have been owed to the Plaintiff at the time and place in question. Id. Defendant’s

argument suffers from a variety of serious problems.

      1.     The duty to clear the parking lot at the specific time of the
             incident was not delegated to JLL

      The first problem with Defendant’s argument is that the contract with JLL

did not, in fact, require JLL to maintain the parking lot 24 hours a day and 7 days a



                                         11
week. Defendant is mischaracterizing a section of the contract stating merely that

JLL “shall be accessible on a 24 hour, 365 day basis[.]” (Emphasis added.) SDMF

¶ 13. A different section plainly states that JLL is not required to clear snow and

ice until at least one hour before business hours at 8:30am (i.e., at 7:30am). SDMF

¶¶ 13, 17. This was after Plaintiff arrived at the post office and sustained her injury

(slightly before 7:30am). SDMF ¶¶ 2, 13. If the Defendant required JLL’s services

before 8:30am, Defendant could have placed a service call to JLL but failed to do

so despite having plenty of prior notice and opportunity. Indeed, the manager of

the post office was unaware of JLL’s customer call center and never even used it.

      Defendant itself cites a decision holding that an FTCA claim remains valid if

it is based on a particular duty that was not delegated to an independent contractor,

which is the case here because the duty to clear the parking lot at the specific time

in question was not delegated to JLL. Hsieh v. Consol. Engr. Servs., Inc., 569 F.

Supp. 2d 159, 177 (D.D.C. 2008) (cited in Dkt. 27 at 13). This means that the duty

remained with the Defendant, not only because the subject lease obligated

Defendant to clear snow and ice from the parking lot, and not only because

Defendant could have made a service call or taken independent action, but also

because Defendant’s internal policies and procedures required this sort of

vigilance. Ex. 2 - Mordja, Premises Liability Report (Jan. 9, 2023) at 4; SDMF ¶

18.



                                          12
      2.     Defendant remains liable for its own employees’ negligence even if
             the duty to clear the parking lot at the specific time of the incident
             was delegated to JLL

      The second problem with Defendant’s argument is that even if the relevant

duty had been delegated to JLL, this would not relieve Defendant of liability for its

employees’ negligence, a fundamental principle again recognized in Defendant’s

own cited authority. Hines v. U.S., 60 F.3d 1442, 1448 (9th Cir. 1995)

(“Notwithstanding our determination that Wright and Smith are not federal

employees, the United States can still be subject to FTCA liability if its own

employees acted negligently.”) (cited in Dkt. 27 at 13). This principle has been

cited repeatedly in Montana’s federal and state courts to validate claims for

premises liability even where the owner or operator retains an independent

contractor. See Fikani v. United States, No. CV 19-64-BU-SHE, 2021 U.S. Dist.

LEXIS 95338, at *5, *6 (D. Mont. May 19, 2021) (“Although the United States

cannot be held liable for [the contractor’s] actions, it could be held accountable for

its own separate acts or omissions concerning maintenance of the lobby or other

duties[.]”); Young v. Fed. Home Loan Mortg. Corp., No. CV 13-83-M-DWM,

2014 U.S. Dist. LEXIS 147088, at *8, *9 (D. Mont. Oct. 15, 2014) (holding that

genuine issues of fact created a jury question of whether federal agency negligently

maintained premises despite hiring independent contractor); Steichen v. Talcott

Props., LLC, 2013 MT 2, ¶¶ 8-18, 368 Mont. 169, 292 P.3d 458 (“Independent



                                          13
contractor status is relevant in construction industry cases, but not in ordinary

premises liability cases.”).

      Defendant attempts to avoid this problem by citing a Montana precedent –

Beckman v. Butte-Silver Bow County, 2000 MT 112, 299 Mont. 389, 1 P.3d 348 –

to argue that the present case does not fit any of the limited “exceptions” to the rule

against liability for an independent contractor’s negligence. Dkt. 27 at 15-18. But

Defendant overlooks that the Montana Supreme Court has held that Beckman

applies only in the construction context and has no relevance to ordinary claims for

premises liability, which remain valid if the owner or operator was negligent.

Steichen, 2013 MT 2 at ¶¶ 8-18 (distinguishing Beckman and similar cases). The

holding in Steichen is echoed in Defendant’s cited decision of Edison v. U.S., 822

F.3d 510, 518 (9th Cir. 2016) (“The independent contractor exception, however,

has no bearing on the United States’ FTCA liability for its own acts or omissions.”)

(italics in original) (cited in Dkt. 27 at 15). Defendant also overlooks ample

evidence of its own employees’ negligence. Several employees had arrived at the

post office long before Plaintiff did. SDMF ¶ 5. At least some of those employees

parked in the parking lot. SDMF ¶ 5. The employees had tools and warning signs

that they could (and sometimes did) use to diminish the danger of snow and ice on

the premises when necessary (including on the parking lot). SDMF ¶ 5. The subject

lease also states that the Defendant is responsible for removing snow and ice from



                                          14
the parking area. Depo. SDMF ¶ 5. Maintenance of the parking lot is also governed

by other of the Defendant’s internal policies and procedures, which require

Defendant to uphold safety and to prevent accidents where possible, including but

not limited to the removal of snow and ice. SDMF ¶ 18. After Plaintiff fell, one of

Defendant’s employees came to check on her (indicating the employees’ ability to

monitor the parking lot). SDMF ¶ 5.

      In addition, the Defendant had a duty to warn that could not be delegated to

JLL. The Montana Supreme Court has consistently held as a matter of law that “the

owner of a premises has a duty to use ordinary care in maintaining his premises in

a reasonably safe condition and to warn of any hidden or lurking dangers.”

Dobrocke v. City of Columbia Falls, 2000 MT 179, ¶ 30, 300 Mont. 348, 8 P.3d

71, overruled in part on other grounds by Roberts v. Nickey, 2002 MT 37, ¶ 14,

308 Mont. 335, 43 P.3d 263 (emphasis added). It is not necessary for the owner or

operator of the premises to have actual knowledge of such a danger, since a jury is

entitled to determine whether the owner or operator had sufficient opportunity to

inspect the premises and give advance warning. Dobrocke at ¶¶ 45-47. Such is the

case here. Defendant had warning signs and had plenty of time to inspect the

condition of the premises to ascertain the presence of snow and ice (an admittedly

hazardous condition) and place the warning signs in the parking lot before Plaintiff

arrived and was harmed.



                                         15
      To summarize, the mere fact that Defendant hired JLL to clear the parking

lot of snow and ice does not dispose of Defendant’s own duty or Plaintiff’s claim

for breach of that duty. JLL was not obligated to clear the parking lot at the time

the incident happened, and even if JLL was so obligated, it would not make a

difference because it did not relieve the Defendant of its separate duty to warn

Defendant’s employees had a duty to warn and the ability to anticipate the danger

so as to minimize or even remove it, but they failed to so and may be held liable.

      3.     Even if the independent-contractor exception to the FTCA is
             relevant and applicable here, Defendant retained sufficient
             control over JLL to be held liable for its negligence

      Assuming arguendo that both of the foregoing points are incorrect and that

the independent-contractor exception to the FTCA is relevant and applicable, the

record shows that the Defendant retained sufficient control over JLL to be held

liable for any negligence that JLL committed.

      As explained by this Court in Defendant’s cited decision of Robertson v.

Ziplocal, LP:

      A principal may be liable for the torts of an independent contractor if
      it “knows or should know that the independent contractor is
      performing work in an unreasonably dangerous manner, and if the
      employer retains the authority to direct the manner in which work is to
      be performed.”. . . A principal can retain such authority by taking
      control of its independent contractor’s actions or by reserving
      that authority in a contract.




                                          16
No. CV 11-154-M-DWM, 2012 U.S. Dist. LEXIS 138566, at *10 (D. Mont. Sep.

26, 2012) (emphasis added) (citations omitted) (cited in Dkt. 27 at 13).

      As explained above, the Defendant knew or should have known that JLL

was performing its work in an unreasonably dangerous manner on the day in

question since Defendant’s employees arrived at the post office hours before the

Plaintiff and thus possess superior knowledge of the lot’s conditions that would

have enabled them to warn visitors or pick up the phone and call JLL. SDMF ¶ 5.

Moreover, Defendant’s employees had a habit of using their own tools to minimize

the danger of snow and ice on the premises when necessary. Id. This shows how

Defendant’s employees assumed some snow removal maintenance duties and did

not delegate them in full to JLL. It further illustrates how the Defendants failed to

take action despite knowledge of the danger as well as fulfill its separate duty to

warn. Id. As for the contract with JLL, it reserves sweeping authority to Defendant

to monitor JLL’s activities and instruct JLL when and how to perform its work, 24

hours a day and 365 days a year. SDMF ¶ 16.

      Under the record facts and applicable law, Defendant is liable for any

negligence by JLL even if JLL is treated as an independent contractor.

C.    Plaintiff’s Claim Is Not Barred By The Discretionary-Function
      Exception To The FTCA

      Defendant goes on to assert that a separate exception from FTCA liability

bars relief, namely the exception for “discretionary functions” appearing at 28

                                          17
U.S.C. § 2680. Defendant describes the exception in detail and cites a large amount

of case law to argue that the decision to leave the lobby open 24 hours a day was

an exercise of discretion that implicates the larger policy concerns of the Postal

Service, thereby warranting protection from liability. Dkt. 27 at 18-26.

      The first, serious problem with this argument is that this very Court has

rejected it, holding that a post office’s discretion over lobby hours does not

diminish or eliminate the duty to maintain the reasonable safety of the premises,

but rather confirms such duty: “[O]nce the decision to keep the lobby open was

implemented, the duty assumed by the United States with respect to maintenance

of a safe customer area was both dictated and required by the Handbook, and

which required and directed the United States to ‘always maintain a dry area for

pedestrian traffic.’” Fikani, 2021 U.S. Dist. LEXIS 95338, at *4. Defendant’s

failure to mention Fikani is rather surprising when considering that one of

Defendant’s own cited authorities acknowledges that Fikani charts a different

course from what courts in other jurisdictions have done, as follows:

      The District of Montana has reached a different result. . . . In Fikani,
      the plaintiff slipped and fell in a puddle of water on the lobby floor of
      a post office in Belgrade, Montana. . . . The Fikani Court reasoned
      that, although the Belgrade Postmaster had discretion to allow the
      lobby to remain open 24-hours-a-day, such decision carried with it a
      duty, outlined in the Supervisor’s Safety Handbook, to “always
      maintain a dry area for pedestrian traffic.” . . . The Fikani Court
      further concluded that, even if the decision of whether or not to
      maintain a dry area for pedestrians was discretionary, it was not
      grounded in social, economic, and political policy

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Bonebrake v. United States, No. C19-1639 RAJ, 2021 U.S. Dist. LEXIS 200362, at

*6, *7 (W.D. Wash. Oct. 18, 2021) (cited in Dkt. 27 at 23).

       In similar fashion, the post office here had extensive internal policies and

procedures for maintaining the safety of the premises. SDMF ¶ 18. Therefore, the

logic of the case law (partially) referenced by Defendant compels not treating

routine maintenance as a larger policy concern triggering the exception from

liability.

       Any doubt on this point has been eliminated by the Ninth Circuit Court of

Appeals, which holds that routine removal of snow and ice from federal premises

categorically does not trigger the “discretionary function” exception at U.S.C. §

2680. Bolt v. United States, 509 F.3d 1028, 1032-35 (9th Cir. 2007). Again,

Defendant’s failure to mention Bolt is rather surprising when considering that two

of Defendant’s own cited authorities acknowledge its holding. Terbush v. United

States, 516 F.3d 1125 (9th Cir. 2008) (“Our case law directs that, by nature,

matters of routine maintenance are not protected by the discretionary function

exception because they generally do not involve policy-weighing decisions or

actions. See Bolt v. United States, 509 F.3d 1028, 1034 (9th Cir. 2007)[.]”) (cited in

Dkt. 27 at 19); Chadd v. United States, 794 F.3d 1104, 1125 (9th Cir. 2015) (“In

Bolt v. United States, the Army’s failure to remove snow and ice from parking lot

was not protected. All these involved the exercise of discretion, as almost all

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negligence does. But as in this case, the particular exercise of discretion at issue

did not require a weighing of public policy considerations.”) (cited in Dkt. 27 at

18, 19).

      On top of all this, the case law cited by the Defendant deals with incidents

occurring within or appurtenant to a post office’s lobby, not in the parking lot, so it

is even more irrelevant to the present case.

      Clearly, the discretionary-function exception to FTCA liability does not

apply to this case or bar Plaintiff’s claim.

D.    Plaintiff’s Claim Is Not Barred By The Supposedly Open And Obvious
      Nature Of The Defect

      Finally, Defendant argues that Plaintiff cannot recover because “a property

owner is not liable for injuries resulting from open and obvious conditions when

the property owner should not have anticipated the harm.” Dkt. 27 at 26 (citing

Richardson v. Corvallis Pub. Sch. Dist. No. 1, 286 Mont. 309, 950 P.2d 748 (Mont.

1997)). According to Defendant, the snow and ice in the parking lot constituted

just such an open and obvious condition that forecloses relief. Dkt. 27 at 26.

      Yet the black ice that Plaintiff stepped onto was not open and obvious, as it

appeared to be a clear patch of asphalt that Plaintiff used in order to avoid the snow

and ice that she was able to see. SDMF ¶¶ 4-6.

      But even if the spot where Plaintiff stepped were treated as an open and

obvious danger, this would merely trigger the second part of the Richardson test,

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namely whether the Defendant should have anticipated the harm: “[T]he possessor

of the premises may only be absolved from liability for injuries resulting from

open and obvious dangers if he should not have anticipated harm to occur.”

Richardson, 950 P.2d at 756. Defendant fails to discuss this test or offer any record

evidence to satisfy it. Plaintiff, however, presents record evidence that the

Defendant could have and should have anticipated her harm. To reiterate, several

employees had arrived at the post office long before Plaintiff did. SDMF ¶ 5. At

least some of those employees parked in the parking lot. SDMF ¶ 5. The

employees had tools and warning signs that they could (and sometimes did) use to

diminish the danger of snow and ice on the premises when necessary (including on

the parking lot). SDMF ¶ 5. The subject lease also states that the Defendant is

responsible for removing snow and ice from the parking area. Depo. SDMF ¶ 5.

And after Plaintiff fell, one of Defendant’s employees came to check on her.

SDMF ¶ 5. In short, there is ample evidence creating a genuine issue of fact as to

whether the Defendant should have anticipated the harm here, which defeats

summary judgment even assuming for purposes of argument the defect was open

and obvious (and it was not).

      Defendant also cites as instructive Nichols v. United States, No. CV 08-89-

BU-RFC, 2010 U.S. Dist. LEXIS 118309 (D. Mont. Nov. 8, 2010), a decision that

was issued following a trial. Such a decision does not support granting summary



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judgment, but rather supports denying it and allowing the multiple and genuine

issues of fact to be resolved at trial as well.

                                    CONCLUSION

       For the foregoing reasons, Plaintiff has met and exceeded her burden to

resist summary judgment, and she requests that the Court enter an order that denies

Defendant’s motion for summary judgment and that grants such other and further

relief the Court deems warranted.



Dated: March 31, 2023

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(d)(2)(E), the attached brief is proportionately

spaced, has a typeface of 14 points, and contains 6,037 words, excluding the

caption, certificate of compliance, table of contents and authorities, exhibit index,

and any certificate of service.

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